         Case 4:15-cr-06010-EFS    ECF No. 105   filed 06/21/16   PageID.234 Page 1 of 2




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 5
                              UNITED STATES DISTRICT COURT
 6                           EASTERN DISTRICT OF WASHINGTON

 7
     UNITED STATES OF AMERICA,                   No.   4:15-CR-6010-EFS-4
 8
                                  Plaintiff,
 9                                               ORDER GRANTING DEFENDANT’S MOTION
                   v.                            TO MODIFY CONDITIONS OF RELEASE
10
     MACARIO ROSALES-SANCHEZ,
11
                                  Defendant.
12

13

14           Before the Court, without oral argument, is Defendant Macario

15   Rosales-Sanchez’s Motion to Modify Conditions of Release, ECF No. 104.

16   Defendant seeks permission to travel to Oregon for a family vacation

17   from July 3, 2016, to July 6, 2016. The Court grants the motion.

18           Accordingly, IT IS HEREBY ORDERED:

19        1. Defendant’s Motion to Modify Conditions of Release, ECF No. 104,

20           is GRANTED.

21        2. Defendant may travel to Oregon from July 3, 2016, to July 6,

22           2016. He may not travel to any other state and must be back in

23           the Eastern District of Washington by July 7, 2016.

24   //

25   //

26   /




     ORDER - 1
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 1           IT IS SO ORDERED.              The Clerk’s Office is directed to enter this

 2   Order and provide copies to all counsel and to the U.S. Probation

 3   Office.

 4           DATED this _20th           day of June 2016.

 5
                                         s/Edward F. Shea__
 6                                         EDWARD F. SHEA
                                Senior United States District Judge
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